13

14

15

16

17

18

RICHARD LANSING,
Plaintiff, Case No.
V. PLAINTIFF’S COMPLAINT AND
KOHL’S CORPORATION, DEMAND FOR JURY TRIAL
Defendant (Unlawful Debt Collection Practices)

Case 4:18-cv-05182-TOR ECFNo.1 filed 11/20/18 PagelD.1 Page 1 of 7

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF WASHINGTON

 

against KOHL’S CORPORATION (“Defendant”):

 

 

COMPLAINT

RICHARD LANSING (“Plaintiff”), by his attorneys, alleges the following

1. Plaintiff brings this action on behalf of himself individually seeking damages
and any other available legal or equitable remedies resulting from the illegal
actions of Defendant, in negligently, knowingly, and/or willfully contacting
Plaintiff on Plaintiffs cellular telephone in violation of the Telephone
Consumer Protection Act (hereinafter “TCPA”), 47 U.S.C. § 227 et seq.

JURISDICTION AND VENUE
2. Defendant conducts business in the state of Washington, and therefore,

personal jurisdiction is established.

-l-

 

PI.AINTIFF’S COMPI.AINT
bo

10

11

13

14

15

16

17

18

19

Case 4:18-cv-05182-TOR ECFNo.1 filed 11/20/18 PagelD.2 Page 2 of 7

3. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C.

. Venue is proper in the United States District Court for the Eastern District of

. Plaintiff is a natural person residing in the county of Benton in the city of

. Defendant is a Wisconsin corporation doing business in the state of

. At all times relevant to this Complaint, Defendant has acted through its

. Defendant is a “person” as defined by 47 U.S.C. § 153(39).

 

 

§227(b)(3). See, Mims v. Arrow Financial Services, LLC, 132 S.Ct.. 740
(2012), holding that federal and state courts have concurrent jurisdiction over

private suits arising under the TCPA.

Washington pursuant to 28 U.S.C § 1391(b) because Plaintiff resides within
this District and a substantial part of the events or omissions giving rise to the
herein claims occurred, or a substantial part of property that is the subject of
the action is situated within this District.

PARTIES

Prosser, Washington and is otherwise sui juris.

Washington and has its principal place of business in Menomonee Falls,

Wisconsin.
agents, employees, officers, members, directors, heir, successors, assigns,

principals, trustees, sureties, subrogees, representatives and insurers.

FACTUAL ALLEGATIONS

-2-

 

PI.AINTIFF’S COMPI.AINT
10

11

12

13

14

15

16

17

18

 

 

Case 4:18-cv-05182-TOR ECFNo.1 filed 11/20/18 PagelD.3 Page 3 of 7

9. Defendant placed collection calls to Plaintiff seeking and attempting to
collect on alleged debts owed by Plaintiff.

10.Defendant placed collection calls to Plaintiffs cellular telephone at phone
number (509) 308-66XX.

11.Defendant places collection calls to Plaintiff from phone numbers including,
but not limited to, (210) 346-2817, (414) 257-2339, (509) 233-4230, (509)
316-9379, (360) 261-6894, (509) 233-4247, (509) 233-4253, (360) 261-6892,
(509) 233-4263, (903) 593-8790, (509) 233-4186, (509) 233-4204, (509)
233-4187, (360) 261-6645, (360) 261-6628, (360) 261-6637, (509) 233-4281,
(360) 261-6887, (360) 261-6655, (509) 316-9378, (360) 261-6893, (360)
261-6645, (360) 261-6628, (509) 233-4223, (262) 704-9780, (360) 261-6870,
(360) 261-6882, (360) 261-6865, (509) 233-4197, (509) 233-4193, (509)
233-4189, (509) 233-4226, and (360) 261-6621.

12.Per its prior business practices, Defendant’s calls were placed with an
automated telephone dialing system (“auto-dialer”).

13.Defendant used an “automatic telephone dialing system”, as defined by 47
U.S.C. § 227(a) (1) to place its telephone calls to Plaintiff seeking to collect
a consumer debt allegedly owed by Plaintiff, RICHARD LANSING.

14.Defendant’s calls constituted calls that were not for emergency purposes as

defined by 47 U.S.C. § 227(b)(1)(A).

-3-

 

PILAINTIFF’S COMPI.AINT
10

11

13

14

15

16

17

18

19

 

 

Case 4:18-cv-05182-TOR ECFNo.1 filed 11/20/18 PagelD.4 Page 4 of 7

15.Defendant’s calls were placed to a telephone number assigned to a cellular
telephone service for which Plaintiff incurs a charge for incoming calls
pursuant to 47 U.S.C. § 227(b)(1).

16.Defendant never received Plaintiff’ “prior express consent” to receive calls
using an automatic telephone dialing system or an artificial or prerecorded
voice on her cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).

17.On May 18, 2018, at or around 11:39 a. m. Pacific Standard Time, Plaintiff
spoke with Defendant’s female representative at (210) 346-2817 and
requested that Defendant cease calling Plaintiff's cellular phone.

18.During the conversation, Plaintiff gave Defendant his name and wife’s social
security number to assist Defendant in accessing his wife’s account before
asking Defendant to stop calling his cell phone regarding all accounts
associated with the phone number.

19.Plaintiff revoked any consent, explicit, implied, or otherwise, to call his
cellular telephone and/or to receive Defendant’s calls using an automatic
telephone dialing system in his conversation with Defendant’s representative
on May 18, 2018.

20.Despite Plaintiff’s request to cease, Defendant continued to place collection

calls to Plaintiff through August 15, 2018.

-4-

PL_AINTIFF’?S COMPT AINT

 
10

1]

13

14

15

16

17

18

 

 

Case 4:18-cv-05182-TOR ECFNo.1 filed 11/20/18 PagelD.5 Page 5of7

21.Despite Plaintiffs request that Defendant cease placing automated collection
calls, Defendant placed at least Two Hundred and Eighteen (218) automated
calls to Plaintiffs cell phone.
FIRST CAUSE OF ACTION

NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
PROTECTION ACT

47 U.S.C. § 227

22.Plaintiff repeats and incorporates by reference into this cause of action the
allegations set forth above at Paragraphs 1-21.

23.The foregoing acts and omissions of Defendant constitute numerous and
multiple negligent violations of the TCPA, including but not limited to each
and every one of the above cited provisions of 47 U.S.C. § 227 et seq.

24.As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
Plaintiff is entitled to an award of $500.00 in statutory damages, for each and
every violation, pursuant to 47 U.S.C. §227(b)(3)(B).

25.Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in

the future.

-5-

PILAINTIFF’S COMPI.AINT

 
10

11

13

14

15

16

17

18

 

 

Case 4:18-cv-05182-TOR ECFNo.1 filed 11/20/18 PagelD.6 Page 6 of 7

SECOND CAUSE OF ACTION
KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
CONSUMER PROTECTION ACT
47 U.S.C. § 227 et. seq.

26.Plaintiff repeats and incorporates by reference into this cause of action the
allegations set forth above at Paragraphs 1-21.

27.The foregoing acts and omissions of Defendant constitute numerous and
multiple knowing and/or willful violations of the TCPA, including but not
limited to each and every one of the above cited provisions of 47 U.S.C. §
227 et seq.

28.As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
227 et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages,
for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
U.S.C. § 227(b)(3)(C).

29.Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in
the future.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff, RICHARD LANSING, respectfully requests

judgment be entered against Defendant, KOHL’S CORPORATION for the

following:

-6-

PIATNTIFF’?S COMPI.AINT

 
13

14

15

16

17

18

19

20

 

 

Case 4:18-cv-05182-TOR ECFNo.1 filed 11/20/18 PagelD.7 Page 7 of 7

FIRST CAUSE OF ACTION
30.For statutory damages of $500.00 multiplied by the number of TCPA
violations alleged herein (218), $109,000.00;
31.Actual damages and compensatory damages according to proof at time of
trial;
SECOND CAUSE OF ACTION
32.For statutory damages $1,500.00 multiplied by the number of TCPA
violations alleged herein (218), $327,000.00;
33.Actual damages and compensatory damages according to proof at time of
trial;
ON ALL CAUSES OF ACTION
34.Costs and reasonable attorneys’ fees;
35.Any other relief that this Honorable Court deems appropriate.
JURY TRIAL DEMAND

36.Plaintiff demands a jury trial on all issues so triable.

RESPECTFULLY SUBMITTED,

/,

L

DATED: November /J , 2018
py: Zz

 

David E. Eash \_/

Feltman - fast A

1600 Paulson Center
Spokane, WA 99201

Tel: (509) 838-6800

Fax: (509) 744-3436
davide@feltmanewing.com

J

 

PILATINTIFF’S COMPI.AINT
